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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                             CASE NO.:

ANDRES RAMON MELO,

               Plaintiff,

vs.

FACELLA REALTY GROUP,

            Defendant.
______________________________________/                INJUNCTIVE RELIEF SOUGHT

                                        COMPLAINT

       Plaintiff, ANDRES RAMON MELO, by and through the undersigned counsel, hereby sues

the Defendant, FACELLA REALTY GROUP, for injunctive relief pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181, et seq. (hereinafter, the “ADA”) and the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (hereinafter, the “ADAAG”), and alleges as follows:

                                         JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims arising under 42 U.S.C. § 12181, et seq., based upon Defendant’s

failure to remove physical barriers to access and violations of Title III of the ADA (see also, 28

U.S.C. §§ 2201 and 2202).

                                             PARTIES

       2.      Plaintiff is a resident of the State of Massachusetts and this judicial district, is sui

juris, and is disabled as defined by the ADA and substantially limited in performing one or more

major life activities, including but not limited to walking, standing, grabbing, grasping and pinching.

Plaintiff uses a wheelchair for mobility purposes. Plaintiff’s access to the Facility and/or full and
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equal enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations

offered therein was restricted and/or limited because of these disabilities, and will be restricted

and/or limited in the future unless and until Defendant is compelled to remove the physical barriers

to access and ADA violations which exist at the Facility, including those set forth in this Complaint.

        3.       Completely independent of his personal desire to have access to places of public

accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” on behalf of himself,

and other persons with disabilities, for the purpose of discovering, encountering, and engaging

discrimination against the disabled in public accommodations. When acting as a “tester,” Plaintiff

employs a routine practice. He personally visits the public accommodation where he knows or

where it has been reported to him that illegal barriers to access exist; engages barriers to access that

he is able to access; and tests barriers to access to determine whether and the extent to which there

are illegal barriers to access; proceeds with legal action to enjoin such discrimination; and

subsequently returns to the premises to verify its compliance or non-compliance with the ADA and

to otherwise use the public accommodation as members of the able-bodied community are able to

do. Independent of other subsequent visits for personal reasons, Plaintiff also intends to revisit the

premises to verify its compliance or non-compliance with the ADA, and its maintenance of the

accessible features of the premises.

        4.      In this instance, Plaintiff, in his individual capacity for personal reasons, and as a

“tester”, visited the Facility, encountered barriers to access at the Facility, and engaged and tested

those barriers, suffered legal harm and legal injury, and will continue to suffer such harm and injury

as a result of the illegal barriers to access and Defendant’s ADA violations set forth herein.

        5.      Plaintiff has suffered and continues to suffer direct and indirect injury as a result of


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Defendant’s actions or inaction described herein.

       6.      Defendant transacts business in the State of Massachusetts and within this judicial

district. Defendant is the owner, lessee, lessor and/or operator of the real property and improvements

which are the subject of this action, commonly referred to as Marabu Cafe, located at or about 22

Union Street, Lawrence, Massachusetts (hereinafter the “Facility”).

                          FACTUAL ALLEGATIONS AND CLAIM

       7.      On July 26, 1990, Congress enacted the Americans with Disabilities Act (hereinafter,

the “ADA”), 42 U.S.C. § 12101, et seq.

       8.      Congress found, among other things, that:

               (i)     some 43,000,000 Americans have one or more physical or mental disabilities,
                       and this number is increasing as the population as a whole is growing older;

               (ii)    historically, society has tended to isolate and segregate individuals with
                       disabilities, and, despite some improvements, such forms of discrimination
                       against individuals with disabilities continue to be a serious and pervasive
                       social problem;

               (iii)   discrimination against individuals with disabilities persists in such critical
                       areas as employment, housing public accommodations, education,
                       transportation, communication, recreation, institutionalization, health
                       services, voting, and access to public services;

               (iv)    individuals with disabilities continually encounter various forms of
                       discrimination, including outright intentional exclusion, the discriminatory
                       effects of architectural, transportation, and communication barriers,
                       overprotective rules and policies, failure to make modifications to existing
                       facilities and practices, exclusionary qualification standards and criteria,
                       segregation, and relegation to lesser service, programs, activities, benefits,
                       jobs, or other opportunities; and,

               (v)     the continuing existence of unfair and unnecessary discrimination and
                       prejudice denies people with disabilities the opportunity to compete on an
                       equal basis and to pursue those opportunities for which our free society is
                       justifiably famous, and costs the United States billions of dollars in


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                       unnecessary expenses resulting from dependency and nonproductivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       9.      Congress explicitly stated that the purpose of the ADA was to:

               (i)     provide a clear and comprehensive national mandate for the elimination of
                       discrimination against individuals with disabilities;

               (ii)    provide a clear, strong, consistent, enforceable standards addressing
                       discrimination against individuals with disabilities; and,

               (iii)   invoke the sweep of congressional authority, including the power to enforce
                       the fourteenth amendment and to regulate commerce, in order to address the
                       major areas of discrimination faced day-to-day by people with disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       10.     The congressional legislation provided places of public accommodation one and a

half years from the enactment of the ADA to implement the requirements imposed by the ADA. The

effective date of Title III of the ADA was January 26, 1992, or January 26, 1993 if defendant has 10

or fewer employees and gross receipts of $500,000 or less. 42 U.S.C. § 12181; 28 C.F.R. §

36.508(a).

       11.     The Facility is a public accommodation and service establishment.

       12.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the Department

of Justice, Office of Attorney General, promulgated federal regulations to implement the

requirements of the ADA. 29 C.F.R. Part 36. Public accommodations were required to conform to

these regulations by January 26, 1992 (or January 26, 1993 if defendant has 10 or fewer employees

and gross receipts of $500,000 or less). 42 U.S.C. § 12181, et seq., and 28 C.F.R. § 36.508(a).

       13.     The Facility must be, but is not, in compliance with the ADA and ADAAG.

       14.     Plaintiff has attempted to and has, to the extent possible, accessed the Facility, but


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could not do so because of his disability due to the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facility that preclude and/or limit his access to the Facility

and/or the goods, services, facilities, privileges, advantages and/or accommodations offered therein,

including those barriers, conditions and ADA violations more specifically set forth in this Complaint.

       15.      Plaintiff intends to visit the Facility again in the near future in order to utilize all of

the goods, services, facilities, privileges, advantages and/or accommodations commonly offered at

this facility, but will be unable to do so because of his disability due to the physical barriers to

access, dangerous conditions and ADA violations that exist at the property that preclude and/or limit

his access to the Facility and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

      16.     Defendant has discriminated against Plaintiff and others with disabilities, by denying

access to, and full and equal enjoyment of the goods, services, facilities, privileges, advantages

and/or accommodations of the Facility, as prohibited by 42 U.S.C. § 12182, et seq., and will continue

to discriminate against Plaintiff and others with disabilities unless and until Defendant is compelled

to remove all physical barriers that exist at the Facility, including those specifically set forth herein,

and make the Facility accessible to and usable by persons with disabilities, including Plaintiff.

      17. Defendant has discriminated against Plaintiff by failing to comply with the above

requirements. A specific, although not exclusive, list of unlawful physical barriers, dangerous

conditions and ADA violations which preclude and/or limit Plaintiff’s ability (because of Plaintiff’s

disability) to access the Facility and/or full and equal enjoyment of the goods, services, facilities,

privileges, advantages and/or accommodations of the Facility, include:


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         a)      The Facility lacks a sufficient number of accessible parking spaces. ADAAG
4.1.2.
         b)      The doors at the Facility are not accessible. ADAAG 4.19.

       c)      There is not an accessible route throughout the Facility, including from the
parking area to the entrance door. ADAAG 4.1 and 4.3.

         d)      There are restrooms that are inaccessible. 2010 Standards sections 213 and 603.

       e)      The restrooms lack sufficient clear floor space, maneuvering clearance and
turning space. 2010 Standards sections 213 and 603.

         f)      The water closets are inaccessible. 2010 Standards sections 213, 603 and 604.

         g)      The lavatories are inaccessible. 2010 Standards sections 213, 603 and 606.

         18.     The above listing is not to be considered all-inclusive of the barriers, conditions or

violations encountered by Plaintiff and/or which exist at the Facility. Plaintiff requires an inspection

of the Facility in order to determine all of the discriminatory acts violating the ADA.

         19.     Plaintiff has attempted to gain access to the Facility, but because of his disability has

been denied access to, and has been denied the benefits of services, programs and activities of the

Facility, and has otherwise been discriminated against and damaged by Defendant, because of the

physical barriers, dangerous conditions and ADA violations set forth above, and expects to be

discriminated against in the future by Defendant because of Plaintiff’s disability, unless and until

Defendant is compelled to remove the unlawful barriers and conditions and comply with the ADA.

         20.     The removal of the physical barriers, dangerous conditions and ADA violations set

forth herein is readily achievable and can be accomplished and carried out without much difficulty or

expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

         21.     Plaintiff is without adequate remedy at law and is suffering irreparable harm, and



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reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant is

required to remove the physical barriers, dangerous conditions and ADA violations that exist at the

Facility, including those set forth herein.

        22.     Plaintiff has been obligated to retain the undersigned counsel for the filing and

prosecution of this action, and has agreed to pay the undersigned counsel reasonable attorney’s fees,

costs and expenses from Defendant pursuant to 42 U.S.C. § § 12205 and 12117.

        23.     Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant injunctive

relief to Plaintiff, including an order to alter the subject Facility to make it readily accessible to and

useable by individuals with disabilities to the extent required by the ADAAG.

        WHEREFORE, Plaintiff respectfully requests that the Court issue a permanent injunction

enjoining Defendant from continuing their discriminatory practices, ordering Defendant to remove

the physical barriers to access and alter the subject Facility to make it readily accessible to and

useable by individuals with disabilities to the extent required by the ADA, and awarding Plaintiff his

reasonable attorney’s fees, litigation expenses and costs.


                                                Respectfully submitted,

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